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 8

 9                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 2:18-CR-0206KJM
                      Plaintiff,       )
12                                     ) STIPULATION
                                       ) REGARDING PRETRIAL RELEASE
13
                                       ) SUPERVISION
14   v.    ;                           ) FINDINGS AND ORDER
                                       )
15
     EDDY SANDOVAL LOPEZ,              )
16                                     )
                                       ).
17
                                       ) Court: Hon. Kimberly J. Mueller
18                    Defendant.       )
     __________________________________)
19                                 STIPULATION
20
           Upon consent of the Government, it is hereby stipulated that condition 14 of the
21
     special conditions of pretrial release be modified. Defense Counsel has discussed the
22

23   proposed modification with Pretrial Services Officer, Margarita Zepeda, and she has
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     indicated she is in agreement with the conditions. The modified term 14 shall read as
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     follows:
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27         You must not use or access the darkweb, or use cryptocurrency, in any way and
           for any purpose.
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 1          An Amended Special Conditions of release will be filed with this stipulation. All
 2
     other conditions of release are to remain in full force and effect.
 3

 4
     IT IS SO STIPULATED.
 5
     Dated: December 18, 2019                           Respectfully submitted,
 6

 7                                                      /s/ Grant Rabenn
                                                        GRANT RABENN
 8
                                                        Assistant U.S. Attorney
 9
     Dated: December 18, 2019                           /s/ Samuel David Berns
10                                                      SAMUEL DAVID BERNS
11
                                                        Attorney for Eddy Sandoval Lopez

12

13                                    FINDINGS AND ORDER
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15           IT IS SO FOUND AND ORDERED this 19th day of December, 2019.
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                                                       UNITED STATES DISTRICT JUDGE
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